Case 2:20-cv-10803 Document 1-1 Filed 11/27/20 Page 1 of 34 Page ID #:18




           EXHIBIT A
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         Case 2:20-cv-10803
30-2020-01167237-CU-PO-CJC      - ROADocument
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                                                                                  Court  By34   Page ID
                                                                                            Dominique       #:19
                                                                                                        Carr, Deputt90100

                                            SUMMONS                                                                   (
                                                                                                                         FOR COURT USE ONLY
                                                                                                                       SOLO PAPA USO DE LA CORTE)
                                     (CITACION JUDICIAL)
 NOTICE TO DEFENDANT:
(AVISO AL DEMANDADO):
  WELLTOWER OPCO GROUP LLC dba SUNRISE VILLA
 BRADFORD;             See Attached Additional Parties Attachment
 YOU ARE BEING SUED BY PLAINTIFF:
(LO ESTA DEMANDANDO EL DEMANDANTE):
 GILBERT GARCIA,by and through his Successor in Interest, Paul
 Garcia;                See Attached Additional Parties Attachment
    NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
    below.
      You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
   served on the plaintiff. A letter or phone call will not protect you. Your written response must be In proper legal form if you want the court to hear your
   case. There may be a court form that you can use for your response. You can find these courtforms and more information at the California Courts
   Online Self-Help Center(www.courtinfo.ca.govisellhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
   the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money,and property
   may be taken without further warning from the court.
       There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
   referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
   these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifomia.org), the California Courts Online Self-Help Center
 (www.courtinface.goviselthelp), or by contacting your local court or county bar association. NOTE:The court has a statutory lien for waived fees and
   costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
  IAVISOI Lo han demanded°. Si no responde dentro de 30 dies, la code puede decidir en SU contra sin escuchar su version. Lea la inforntaciOn a
  continuacion.
      Tiene 30 DIAS DE CALENDARIO despues de que le entreguen este citecion y papeles legates pare presenter una respuesta par esc.rito on esta
  carte y hacar que se enbegue una copia al demandente. Una carte o una Hamada telefonice no to protegen. Su respuesta par escrito done que ester
  en formato legal correct° si desea que procesen su caso en la cotta. Es posIble que haya un formulario qua us/ad puede user pare su respuesta.
  Puede encontrar estos fonnularios de la code y mas informacion en el Centro de Ayuda de Ms Cortes de California (www.sucorte.ca.gov), en la
  biblioter,a de leyes de SU condado o en le code qua le quede mas cerce. Si no puede pagerla cuota de presentecion, pida al secretario de la code
  que le de un fomiulario de exencion de pago de cuotas. Si no presents su respuesta a tiempo, puede perder el caso par incumplimiento y Ia carte /a
  padre guitar su sue/do, diner° y bienes sin mas advertencia.
     Hay otros requisitos legates. Es recomendable que llama a un abogado inmediatamente. Si no canoce a un abogado, puede Hamar a un servicio de
  remisk)n a abogados. Si no puede pager a un abogado, es posible que cumpla con los requisitos pare obtener servicios legates gretuitos de un
  progname de servicios legates sin fines de lucre. Puede encontrar estos grupos sin fines de lucre en el sitio web de California Legal Services,
 (www.lawhelpcalifomia.org), en el Centro de Ayuda de Ms Cortes de California,(www.sucorte.ca.gov) o ponlendose an contacto con la carte o el
  colegio de abogados locales. AVISO:Pot ley, la carte tiene derecho a reclamarlas cuotas y los costos exentos par imponer un gravamen sobre
  cualquier recuperaclon de $10,0006 m6s de valor recibida mediante un award° o una concesiOn de arbitnale en un caso de derecho civil. Tiene que
  pager el gravamen de la cotta antes de que la carte puede desecher el caso.
 The name and address of the court is:                                                                    CASE NUMBER:
                                                                                                         (NOmero del Caso):
                                 Orange County Superior Court
(El hombre y direccion de la corte es):
                                                                                                                   30-2020-01167237-CU-PO-CJC
  700 Civic Center Drive West, Santa Ana, California 92701
 Central Justice Center Courthouse                                                                     Judge Theodore Howard
 The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
(El nom bra, Ia direccian y el numem de telOfono del abogado del demandante, o del demandante que no tiene abogado, es):
  Lanzone Morgan,LLP,5001 Airport Plaza Drive, Suite 210,Long Beach, CA 90815;(562)596-1700
                                    DAVID H.YAMASAKI
 DATE:                                                               Clerk, by                                                                         , Deputy
          10/27/2020                Clerk of the Courts                                                                       Dominique Carr
 (Fecha)                                                             (Secretario)                                                                      (Adjunto)
(For proofofservice ofthis summons, use Proof of Service of Summons (form POS-010).)
( Pam prueba de entrega de esta citation use el formulario Proof of Service of Summons,(POS-010)).
                                NOTICE TO THE PERSON SERVED: You are served
                               1.         as an individual defendant.
                               2.         as the person sued under the fictitious name of(specify):


                                       3. 1:1 on behalf of    (spew: 5ON                  f,   S'ealop L.I ltAIr 1111,4-Amtemu1r
                                            under:   C:2:3
                                                        CCP 416.10 (corporation)                                   CCP 416.60(minor)
                                                     =
                                                     I  CCP 416.20(defunct corporation)                    ni      CCP 416.70(conservatee)
                                                     ED CCP 416.40 (association or partnership)                    CCP 416.90(authorized person)
                                                  ED other (specify):
                                       4.        by personal delivery on (date):
                                                                                                                                                           Pats 1 of 1
                                                                                                                                Code of Civil Procedure §§412.20,465
  Form Adopted for Mandatory Use
    Judicial Council of California
                                                                       SUMMONS                                                                    wtwi.courtinfo.ca.gov
   SUM-100 [Rev. July 1,2009]
                  Case 2:20-cv-10803 Document 1-1 Filed 11/27/20 Page 3 of 34 Page ID #:20
                                                                                                                             SUM-200(A)



  L
                                                                                                 CASE NUMBER:
       SHORT TITLE:
       Gilbert Garcia v. Welltower OPCO Group, LLC,et al.

                                                           INSTRUCTIONS FOR USE
     3 This form may be used as an attachment to any summons if space does not permit the listing of all parties on the summons.
     3 If this attachment is used, insert the following statement in the plaintiff or defendant box on the summons:"Additional Parties
       Attachment form is attached."

      List additional parties (Check only one box. Use a separate page for each type ofparty.):

                 Plaintiff           El Defendant     ri Cross-Complainant   El Cross-Defendant

     PAUL GARCIA,individually; RONALD GARCIA,individually; GARY GARCIA,individually,




                                                                                                                 Page    2     of       3
                                                                                                                                    Page 1 of 1
 Form Adopted for Mandatory Use
   Judicial Council of California'                  ADDITIONAL PARTIES ATTACHMENT
SUM-200(A)[Rev. January 1, 2007)                          Attachment to Summons
                 Case 2:20-cv-10803 Document 1-1 Filed 11/27/20 Page 4 of 34 Page ID #:21
                                                                                                                              SUM-200(A)



 !._
                                                                                                CASE NUMBER:
       SHORT TITLE:
       Gilbert Garcia v. Welltower OPCO Group, LLC,et al.

                                                          INSTRUCTIONS FOR USE
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      Attachment form is attached."

     List additional parties (Check only one box. Use a separate page for each type ofparty.):

       n        Plaintiff           El Defendant     El Cross-Complainant   n Cross-Defendant

     SUNRISE SENIOR LIVING                     MANAGEMENT,INC.; and DOES 1 through 100;




                                                                                                                 Page     3    of       3
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 Form Adopted for Mandatory Use
   Judicial Council of California                  ADDITIONAL PARTIES ATTACHMENT
SUM-200(A)[Rev. January 1,2007]                          Attachment to Summons
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                                                                  Clerk of the    5 of
                                                                               Court By34  Page Carr,
                                                                                       Dominique   ID #:22
                                                                                                        Deputy Clerk.




      LANZONE MORGAN,LLP
      Ayman R. Mourad SBN 304161
    2 Alexander S. Rynerson SBN 329956
      5001 Airport Plaza Drive, Suite 210
    3
      Long Beach, California 90815
    4 Telephone: 562-596-1700
      Facsimile: 562-596-0011
    5
      Attorneys for Plaintiffs, GILBERT GARCIA, by and through his Successor in Interest,
    6 Paul Garcia, et al.
    7
                        SUPERIOR COURT OF THE STATE OF CALIFORNIA
    8           FOR THE COUNTY OF ORANGE — CENTRAL JUSTICE CENTER
    9
        GILBERT GARCIA,by and through his                    Case No.: 30-2020-01167237-CU-PO-CJC
                                                             Complaint Filed:      Assigned for all purposes:
   10   Successor in Interest, Paul Garcia; PAUL             Assigned to Department: Judge Theodore Howard
        GARCIA,individually; RONALD                          Hon.
  11    GARCIA,individually; GARY GARCIA,                    Trial Dates:
  12    individually,
                                                            COMPLAINT FOR DAMAGES
  13                                  Plaintiffs,
  14                                                            1. Elder Abuse and Neglect(Welfare &
                            VS.
                                                                   Institutions Code sections 15600 et seq.)
  15
        WELLTOWER OPCO GROUP LLC dba                            2. Wrongful Death
  16    SUNRISE VILLA BRADFORD;
  17    SUNRISE SENIOR LIVING                                   3. Intentional Infliction of Emotional
        MANAGEMENT,INC.; and DOES 1                                Distress
  18    through 100;
  19                                  Defendants.
  20
  21
 22     COME NOW Plaintiffs, who allege upon information and belief as follows:
 23
 24                                                 THE PARTIES
 25            1.      Plaintiff GILBERT GARCIA (hereinafter referred to as "PLAINTIFF" or
 26 "GARCIA")is an individual who at all times relevant to this action was a domiciled in the County
 27     of Orange, State of California. GARCIA was at all relevant times, over the age of 65, and thus,
 28     was an elder pursuant to Welfare and Institutions Code § 15610.27.

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                                           COMPLAINT FOR DAMAGES
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     1           2.     GARCIA passed away on July 3, 2020. His son and Successor in Interest, Paul
 2        Garcia, brings this action for Elder Abuse and Neglect pursuant to Welfare and Institutions Code
 3        section 15600 et seq. Pursuant to Code of Civil Procedure section 377.32 and Welfare and
 4        Institutions Code section 15657.2, Paul Garcia's declaration is filed concurrently herewith.
 5               3.    Plaintiffs PAUL GARCIA, RONALD GARCIA, and GARY GARCIA are the
 6        surviving sons and lawful heirs of GARCIA. They bring the wrongful death action in their
 7       individual capacities.
 8              4.     Defendants WELLTOWER OPCO GROUP LLC, a Delaware limited liability
 9       company, SUNRISE SENIOR LIVING MANAGEMENT,INC. and DOES 1 through 25, were
10       the licensees and operators of the residential care facility for the elderly ("RCFE") known as
11       SUNRISE VILLA BRADFORD, doing business at 1180 Bradford Ave, Placentia, CA 92870.
12       Defendants WELLTOWER OPCO GROUP LLC, and SUNRISE SENIOR LIVING
13       MANAGEMENT, INC., dba SUNRISE VILLA BRADFORD and DOES 1 through 25
14 (hereinafter referenced as the "FACILITY") were at all relevant times in the business of
15       providing custodial care and services to residents as an RCFE. RCFEs are not health care
16       providers; they only provide care and supervision to elderly residents.
17              5.     At all relevant times, Defendants SUNRISE SENIOR LIVING MANAGEMENT,
18       INC. and DOES 26 through 50 (hereinafter, "MANAGEMENT DEFENDANTS") owned,
19       operated, managed, participated in, authorized, and/or directed the conduct ofthe FACILITY.
20              6.     Plaintiff is informed and believes, and therefore alleges, that at all times relevant
21       to this Complaint, DOES 1 through 100 were individuals and/or entities rendering care and
22       services to GARCIA and whose conduct caused GARCIA's injuries, as alleged infra.
23 (Defendants WELLTOWER OPCO GROUP LLC dba SUNRISE VILLA BRADFORD;
24       SUNRISE SENIOR LIVING MANAGEMENT,INC.; and DOES 1 through 100 are hereinafter
25       collectively referenced as "DEFENDANTS").
26              7.    Plaintiff is ignorant of the true names and capacities of those Defendants sued
27       herein as DOES 1 through 100, and for that reason has sued such Defendants by such fictitious
28       names. Plaintiff will seek leave ofthe Court to amend this Complaint to identify said Defendants

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                                        COMPLAINT FOR DAMAGES
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     1    once their identities are known.
  2                8.      Plaintiff is informed and believes, and therefore alleges, that each Defendant
  3       designated as a DOE was responsible in any actionable manner for the events and happenings
  4       herein referred to, which proximately caused the injuries and damages to GARCIA as alleged
  5       infra.
 6                                          JURISDICTION AND VENUE
 7                 9.     The Court has personal jurisdiction over all DEFENDANTS because
 8       DEFENDANTS were, at all relevant times, doing business in the State of California, County of
 9       Orange, as set forth supra as though set fully forth herein. While engaging in this business, the
10       conduct of DEFENDANTS caused injury to GARCIA in the State of California, County of
11       Orange, as set forth more fully infra.
12                 10.    Venue in this judicial district is proper because DEFENDANTS conducted
13       business in this district in a manner which has caused injury to GARCIA, as set forth more fully
14       infra.
15         DEFENDANTS ARE DIRECTLY AND VICARIOUSLY RESPONSIBLE FOR THE
16                                     ABUSE AND NEGLECT OF GARCIA
17                 1 1.   Defendants WELLTOWER OPCO GROUP, LLC and SUNRISE SENIOR
18       LIVING MANAGEMENT, INC. are the co-licensees of SUNRISE VILLA BRADFORD.
19       Accordingly, the FACILITY is responsible for the "exercise of general supervision over the
20       affairs of the licensed facility" and for "establish[ing] policies concerning [that facility's]
21       operation in conformity with [California] regulations and the welfare ofthe individuals it serves."
22 (Cal. Code Regs., tit. 22, § 87205.)

23                 12.    In addition, MANAGEMENT DEFENDANTS are and at all relevant times were
24       the owners of the FACILITY.
25                 13.    Upon information and belief, Ruzica "Rose" Calabrese is and at all relevant times
26       was the FACILITY's administrator and Executive Director. Pursuant to Title 22 ofthe California
27       Code ofRegulations § 87405, an administrator ofan RCFE must"develop an administrative plan
28       and procedures to ensure clear definition of lines of responsibility, equitable workloads, and

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     1    adequate supervision," "recruit, employ, and train qualified staff," and "ensure the provision of
 2        services to the residents with appropriate regard for the residents' physical and mental well-being
 3        and needs," among other things.(Cal. Code Regs., tit. 22, §87405 (h).) As such, Calabrese was
 4        responsible for performing these duties in order to ensure the FACILITY had adequate staff to
 5        supervise and care for GARCIA.
 6               14.    DEFENDANTS were legally responsible for establishing and implementing
 7       policies regarding the management and operation of the FACILITY, including the staffing, the
 8       budgeting, and the training of employees, pursuant to Title 22 of the California Code of
 9       Regulations § 87205.
10               15.   At all relevant times,DEFENDANTS managed,and/or controlled all aspects ofthe
11       operation and management of the FACILITY, including but not limited to the budget, the
12       staffing, staff training, the policy and procedures, accounts payable, accounts receivable, the
13       facility's development and leasing, general accounting, cash management, pricing,
14       reimbursement, capitalization, and profit and loss margins. In fact, on the FACILITY's website,
15       visitors may seeking a career or job at the FACILITY click a link reading "JOIN OUR TEAM"
16       and are then directed to a general Sunrise Senior Living website. The website offers employment
17       opportunities at a number of Sunrise locations throughout the United States, Canada, and the
18       United Kingdom. Thus, MANAGEMENT DEFENDANTS maintain and actively participate in
19       the hiring of staff at every Sunrise facility, including the FACILITY.
20              16.    At all relevant times, DEFENDANTS through their managers, directors, officers,
21       and other agents created and authorized the budgets, policies, and procedures that employees
22       were required to implement and follow.
23              17.    At all relevant times,DEFENDANTS,and each oftheir tortious acts and omissions
24       as alleged herein were done in concert with one another in furtherance of their common design
25       and agreement to accomplish a particular result, namely placing profit over resident care by
26       ensuring that the FACILITY's beds were filled, but failing to properly manage, train, and
27       supervise staffto ensure that staff was adequate in training, supervision, and numbers to properly
28       care for GARCIA.

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     1           18.    DEFENDANTS were the knowing agents and/or alter-egos of one another, and
  2 each oftheir officers, directors, and managing agents directed, approved, and/or ratified all ofthe
  3       acts and omissions of the other, and their agents and employees, thereby making each of them
  4       vicariously liable for the acts and omissions of their co-defendants, their agents and employees,
  5       as alleged herein.
 6               19.    Moreover, DEFENDANTS and each of them agreed with, approved, authorized,
 7       ratified, and/or conspired to commit all of the acts and omissions alleged herein.
 8              20.    Executive Director Ruzica "Rose" Calabrese actually does take an active role in
 9       day-to-day management. By way of example, Calabrese, or another managing agent of the
10 FACILITY, was required to sign all facility evaluation reports conducted by the California
11       Department of Social Services. Further, Calabrese personally signed and sent numerous letters
12       to residents and friends and family of residents at the FACILITY throughout the events and
13       circumstances described herein. Calabrese also included her phone number in each letter and
14       encouraged recipients to reach out to her personally with questions, comments,or concerns. Thus,
15       Calabrese actively participates in the management and provision of services to residents like
16       GARCIA.
17                                        FIRST CAUSE OF ACTION
18                                     ELDER ABUSE AND NEGLECT
19                      (Pursuant to Welfare and Institutions Code 15600 et seq.)
20       [By GILBERT GARCIA, by and through his Successor in Interest, Paul Garcia, against
21                                             all DEFENDANTS]
22             21.     Plaintiff hereby incorporates by reference the allegations set forth supra as though
23 fully set forth herein.
24             22.     At all relevant times, GARCIA was an "elder adult" as defined in Welfare and
25 Institutions Code § 15610.27. GARCIA was born on December 14, 1930, and was approximately
26       89 years of age during the events and circumstances described infra. At all relevant times,
27       GARCIA was a resident ofthe County of Orange in the State of California.
28             23.     GARCIA was admitted as a resident to the FACILITY beginning approximately

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     1    August 12, 2017. DEFENDANTS voluntarily and intentionally assumed responsibility for
     2    providing supervisory and custodial care and services to GARCIA during his residcncy at the
     3    FACILITY. DEFENDANTS were therefore responsible for GARCIA's custodial needs, as well
  4       as his health, safety, and well-being.
  5              24.    The FACILITY owed statutory, regulatory, and standard of care duties to
 6        GARCIA.Despite these duties, DEFENDANTS willfully, intentionally, and/or recklessly caused
 7        or permitted GARCIA to be injured and/or to be place in a situation such that his health and
 8        safety were in danger.
 9              25.     GARCIA was a resident at the FACILITY when the novel coronavinrs disease of
 10      2019 ("COVID-19") pandemic began sweeping the world, the nation, and California. COVID-
11       19 poses an extreme risk to vulnerable communities like the elderly or those with preexisting
12       conditions, putting residents ofassisted living facilities like the FACILITY at extremely high risk
13       for complications or death related to COVID-19. GARCIA had recently turned 89 years old when
14       the pandemic began, and suffered from a history of heart attacks and stroke, glaucoma, and
15       hypertension. Further, GARCIA became a resident of the FACILITY due to his inability to
16       independently perform his activities of daily living and need for assistance from FACILITY staff
17       in such.
18              26.    On January 26, 2020, California had its first confirmed COVID-19 case. The
19       California Department of Public Health ("CDPH") began releasing notices applicable to all
20       California healthcare facilities, including the FACILITY, informing them of guidance and
21       recommendations in preparing for and preventing COVID-19 infection.
22             27.     In late February, 2020, COVID-19 devastated a nursing home in Washington,
23       infecting two-thirds of the residents, 47 workers, and killing over 40 people. The events were
24       widely publicized and the extreme risk COVID-19 poses to elders became highly apparent. As
25       an elderly resident of the FACILITY who suffered from multiple preexisting conditions,
26       GARCIA was at high risk for complications or death related to COVID-19.
27             28.     Thus, DEFENDANTS had knowledge that GARCIA was substantially certain to
28       suffer injuries if DEFENDANTS denied or withheld necessary services; or at a minimum

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     1    DEFENDANTS consciously disregarded the substantially high risk that GARCIA would suffer
 2        injuries if DEFENDANTS denied or withheld these necessary services.
 3               29.     GARCIA suffered unnecessary pain, injury, and mental suffering when he
 4        contracted COVID-19, which caused his death on July 3, 2020.
 5               30.     As a direct and proximate result of DEFENDANTS' conduct, GARCIA was
 6        allowed to suffer the injuries and death described infra.
 7              GARCIA'S DEATH FROM COVID-19 WAS A RESULT OF DEFENDANTS'
 8                                                WRONGFUL CONDUCT
 9               31.     GARCIA was, despite his advanced age, in relatively good health and spirits. He
10       was mentally alert and oriented to person, place, and time, and enjoyed a high level of
11       independence at the FACILITY. GARCIA ate his meals in the dining room and enjoyed frequent
12       outings and visits with his family.
13               32.    On March 4, 2020, California's Governor, Gavin Newsom, declared a state of
14       emergency in California, specifically emphasizing the vulnerability of California's elderly
15       community, and directing local and public health agencies to direct resources toward preparation
16       and control of COVID-19. However, the FACILITY failed to implement appropriate infection
17       control measures or follow local or public health guidelines in preparing for and preventing
18       COVID-19 spread. On March 11, 2020, the FACILITY sent a letter to friends and family of
19       residents informing them that the FACILITY was "discouraging" social visitors, but that visits
20       could be arranged by appointment. On March 12, 2020, FACILITY staff informed GARCIA's
21       son that residents were permitted to be checked out of the FACILITY for outings, if scheduled
22       in advance. Allowing FACILITY residents to leave the FACILITY for outings and return
23       rendered the FACILITY's infection control measures moot.
24              33.     Thereafter, on March 17, 2020, the FACILITY issued a letter stating that visitors
25       were prohibited, except essential medical providers, hospice care providers, and family members
26       of residents at the end of their life.
27              34.     On May 12, 2020, the Chief Executive Officer of SUNRISE SENIOR LIVING
28       MANAGEMENT, 1NC., Chris Winkle, sent a plea to residents and their friends and family,

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     1    detailing DEFENDANTS' lack of appropriate personal protective equipment ("PPE") such as
 2        gloves, face masks, and gowns. The CEO's letter asked recipients to submit a prewritten message
 3        to their local congressperson asking for increased access to PPE and increased financial support
 4        due to the high cost of testing for COVID-19. Despite this plea, on May 15, 2020,
 5        MANAGEMENT DEFENDANTS sent a letter stating DEFENDANT facilities maintained
 6       sufficient PPE.
 7                 35.   On May 28, 2020, GARCIA exhibited weight loss and his physician ordered that
 8       his blood pressure be monitored for a few days. GARCIA experienced a few days of
 9       hypertension, in addition to a recent 5-pound weight loss, bringing his weight to 139 pounds.
10       Thus, DEFENDANTS knew, or should have known, GARCIA was at further increased risk of
11       complications or death related to COVID-19 due to his advanced age, weight loss, and
12       preexisting health conditions.
13              36.      On May 31, 2020, the FACILITY itself sent another plea for recipients to contact
14       their local congresspersons to secure more PPE for the FACILITY. Despite that the pandemic
15       showed no signs of slowing and local and public health recommendations continued to stress the
16       importance of infection control in communities like the FACILITY, the FACILITY began
17       relaxing its procedures. On May 31, 2020, the FACILITY announced its plan to resume group
18       dining.
19              37.      Despite DEFENDANTS' reiterations of the FACILITY's infection control
20       measures, like staff monitoring and screening, a FACILITY staff member tested positive for
21       COVID-19 on June 12, 2020. The next day, the FACILITY arranged for GARCIA to have his
22       hair cut by a third-party barber at the FACILITY. However, the FACILITY was supposedly still
23       maintaining a strict no-visitor policy, with exceptions for medical emergencies. Defendants
24       failed to adhere to infection control protocols by allowing third-parties, such as barbers, to enter
25       the FACILITY.
26              38.      On June 13, 2020, GARCIA reported being especially tired. On June 15, 2020,
27       GARCIA began experiencing diarrhea, which persisted for two days. GARCIA's family
28       contacted him via video call and witnessed a FACILITY staff member administering GARCIA's

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     1    medications and eye drops with no gloves or gown on—the staff member wore only a mask.
 2        Thus, the FACILITY Failed to follow infection protocol guidelines.
 3              39.    On June 17, 2020, the FACILITY notified residents and families that all residents
 4        and staff ofthe FACILITY would be tested for COVID-19 on June 18, 2020. In the afternoon of
 5        June 17, GARCIA told his sons he was exhausted and had not eaten all day. Around 5:00 PM,
 6       GARCIA began experiencing chills and FACILITY staff called GARCIA's son, Ronald,
 7       suggesting Ronald come pick GARCIA up and take him to urgent care.
 8              40.    Despite that doing so put Ronald at risk to COVID-19 exposure due to GARCIA's
 9       symptoms and the presence of COVID-19 positive person(s) in the FACILITY, Ronald felt he
10       had no choice but to get GARCIA the care DEFENDANTS could not provide. Around 8:00 PM
11       on June 17, 2020, an urgent care physician tested GARCIA for COVID-19 and added that he
12       suspected a positive result due to GARCIA's temperature of 100.4 degrees Fahrenheit, cough,
13       and recent exposure to COVID-19. Ronald returned GARCIA to the FACILITY, where—after
14       being forced to wait in his vehicle for 15 minutes before staff arranged for his entry—he was
15       assisted inside by two staff members who lacked proper PPE and therefore did not follow
16       infection control protocols.
17              41.    FACILITY staff acted in direct contravention ofthe policies and procedures it held
18       out to residents and their loved ones when staff provided direct care to GARCIA without proper
19 PPE, despite the presence of COVID-19 symptoms and physician assessment suspecting
20       COVID-19.
21             42.    On June 18, 2020, GARCIA was experiencing confusion, and FACILITY staff
22       contacted his family and suggested they take him to the emergency room. Fearing further
23       exposure to COVID-19 for themselves and their loved ones, GARCIA's family requested that
24       DEFENDANTS call an ambulance. GARCIA was then transferred to Placentia-Linda Hospital.
25             43.    On June 20,2020, GARCIA's COVID-19 test result came back positive. Two days
26       later, the FACILITY sent a notice that two residents and two staff members tested positive for
27       COVID-19.
28             44.    On June 26, 2020, DEFENDANTS' Senior Vice Presidents of Operations for the

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     1    East and West Divisions sent a notice directing DEFENDANT facilities that had gone 14
 2        consecutive days without a new confirmed COVID-19 case to begin moving to "Phase 1" ofthe
 3        Resumption of Operations plan. Phase 1 included socially distanced dining in community
 4        common areas, small group programming, outdoor visitation, and appointments with in-house
 5        hair stylists. However, the day before DEFENDANTS' letter indicating Phase 1 activities, the
 6       FACILITY sent its own letter explaining that on June 26, it would resume small group activities
 7        and communal dining, and that outdoor visitation would begin June 29. Given that the FACILITY
 8       received its COVID-19 test results on June 20, 2020, it should have been required to wait until
 9       at least July 3, 2020—fourteen days—to commence Phase 1 activities
10              45.     On June 26, 2020, the CDPH released a notice to long-term care facilities, like the
11       FACILITY, providing guidance for resuming visitation. The notice directed that "Facilities
12       experiencing an outbreak (i.e. one or more confirmed positive cases) should not resume
13       visitation." The notice further recommended compliance with additional CMS guidance,
14       including: cancel communal dining and all group activities; require residents to wear cloth face
15       covering at all times; identify and restrict staff that work at multiple facilities to ensure they do
16       not pose an increased risk; and review and revise interaction with vendors. Once again, the
17 FACILITY acted in direct contravention of this when it proceeded with resuming communal
18       dining and visitation while experiencing an outbreak. Further, the FACILITY provided no plan
19       addressing the identification or restriction of staff that worked at multiple facilities.
20              46.    On June 29,2020,a FACILITY staff member called Ronald Garcia to inquire about
21       GARCIA's status. Ronald informed the staff member that GARCIA was still hospitalized. The
22       staff member conceded to Ronald that on June 17,2020, when GARCIA returned from the urgent
23       care center, the FACILITY was "not ready" to receive him, but readmitted him despite the risks
24       posed to GARCIA and other residents.
25             47.     Tragically, on July 3, 2020, GARCIA passed away from COVID-19 at the age of
26       89. GARCIA's three loving sons—one of whom had to take GARCIA to urgent care himself
27       when DEFENDANTS were unable to assess or care for him—trusted DEFENDANTS to protect
28       their father from COVID-19. GARCIA's sons received and read each update and letter from

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     1    DEFENDANTS, all the while believing that DEFENDANTS were implementing appropriate
     2    infection control measures. However, DEFENDANTS clearly failed to do so, which resulted
     3    directly in the death of GARCIA.
 4               48.    Even after a FACILITY staff member tested positive for COVID-19,
 5        DEFENDANTS failed to ensure adhere to infection control protocols. Even after GARCIA began
 6        experiencing COVID-19 symptoms, including fatigue, loss of appetite, and digestive issues,
 7        DEFENDANTS did not take appropriate measures to control the spread of infection, and
 8        continued to come into contact with him without proper infection control measures. Rather than
 9        isolating GARCIA when he began experiencing symptoms, Defendants asked GARCIA's son to
 10      personally transfer GARCIA to urgent care—at great risk to himself. Further, a staff member-
11       a licensed vocational nurse—admitted to Ronald Garcia that the facility was not prepared to
12       handle GARCIA when he returned with his suspected COVID-19 diagnosis.
13              49.    Evidently, DEFENDANTS did not have appropriate plans in place to control and
14       prevent COVID-19 from entering the FACILITY. Even after GARCIA left the FACILITY, it
15       continued to defy State, local, and national guidance from public health officials regarding proper
16       COVID-19 protocol.
17              50.    Upon information and belief, DEFENDANTS' conduct was the calculated result
18       of DEFENDANTS' scheme to prioritize profits over resident care by underfunding,
19       undertraining, and understaffing the FACILITY. This includes taking shortcuts in the hiring,
20       training, and retention ofemployees, and ignoring proper infection control measures.
21              51.    DEFENDANTS knew that this scheme would result in inadequate care and services
22       to the residents and that these shortcuts and willful ignorance ofcare needs posed an extreme risk
23       to the health, safety, and welfare of GARCIA as well as other residents.
24          DEFENDANTS' WRONGFUL CONDUCT CONSTITUTES ELDER ABUSE AND
25                                                 NEGLECT
26             52.     The California Legislature has acknowledged that elders are particularly
27       susceptible to abuse and neglect at the hands of caretakers because of"physical impairments and
28       other poor health that place them in a dependent and vulnerable position." (Welf. & Inst. Code,

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     1    § 15600.) The Legislature made clear its public policy regarding the care of elderly adults, and
     2    sought to incentivize litigation to protect the rights ofthese vulnerable elders and prosecute those
     3    who engaged in elder abuse and neglect.
 4               53.     "Elders," as protected by Welfare and Institutions Code § 15600 et seq. are defined
 5        at Welfare and Institutions Code § 15610.27 as California residents aged 65 or older.
 6              54.      "Abuse," as it relates to elders, is defined at Welfare and Institutions Code §
 7        15610.07 as either:
 8                    a. "Physical abuse, neglect, abandonment, isolation, abduction, or other treatment
 9                       with resulting physical harm or pain or mental suffering."
10                    b. "The deprivation by a care custodian of goods or services that are necessary to
11                       avoid physical harm or mental suffering."
12              55.      "Neglect," as it relates to elders is defined at Welfare and Institutions Code §
13       15610.57 as "{t}he negligent failure of any person having the care or custody of an elder or a
14       dependent adult to exercise that degree of care that a reasonable person in a like position would
15       exercise."
16              56.     State laws and regulations governing Residential Care Facilities for the Elderly set
17       the standard of care in the assisted living home industry and help define the care due to elders.
18       These laws and regulations are therefore appropriate in determining whether DEFENDANTS'
19       conduct amounted to physical abuse, recklessness, oppression, fraud, or malice. (See Klein v.
20       BIA Hotel Corp. (1996) 41 Cal.App.4th 1133; Gregory v. Beverly Enterprises (2000) 80
21       Ca1.App.4th 514.) Failure to exercise the degree of a care that a reasonable person in a like
22       position would exercise with respect to caring for elders, then, can constitute neglect and
23       therefore abuse of an elder pursuant to Welfare and Institutions Code § 15600 et seq.
24             57.      DEFENDANTS failed to exercise the degree of care that a reasonable person in a
25       like position would exercise with respect to caring for GARCIA by, among other things, failing
26       to take precautions to prevent GARCIA from contracting COVID-19, which caused his death.
27       This was in strict contravention of DEFENDANTS' duties, including, but not limited to:
28                 a. Providing "[s]afe and healthful living accommodations and services..."(Cal. Code

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     1                    Regs., tit. 22 § 87464(0(2))
 2                     b. Providing "[a]rrangements to        meet health      needs, including     arranging
 3                        transportation..."(Cal. Code Regs., tit. 22 § 87464(0(6))
 4                     c. "To be accorded dignity in their personal relationships..."(Cal. Code Regs., tit. 22
 5                        § 87468.1(a)(1).)
 6                     d. "To provide safe, healthful and comfortable accommodations, furnishings, and
 7                        equipment." (Cal. Code Regs., tit. 22, § 87468.1(a)(2).)
 8               58.      Although DEFENDANTS knew or should have known of these and other duties,
 9        as also required by Title 22, DEFENDANTS failed to operate and provide care and services in
10       compliance with all applicable laws and regulations and with accepted standards and principles
11       that apply to providing services in such a facility as required by Title 22 ofthe California Code
12       of Regulations, and failed to provide sufficient oversight and management to ensure that these
13       violations did not occur. Specific examples of failure to comply with statutory and regulatory
14       duties include but are not limited to:
15                    a. Failing to provide services and activities promoting safe, healthful, and
16                       comfortable accommodations, that is, as care custodians (Welfare and Institutions
17                       Code § 15610.17(j)), intentionally and/or recklessly exposing GARCIA to
18                       COVID-19 by not controlling the infection in his environment.
19
20              59.      The specific examples of DEFENDANTS' violations of laws and regulations
21       specifically set forth supra are not meant to limit the numerosity of the allegations contained
22       herein but are simply illustrative of the depth ofDEFENDANTS' malicious, oppressive, and/or
23       reckless conduct.
24             60.       By engaging in the conduct, neglect and abuse, as alleged supra, including but not
25       limited to the profit scheme by which the FACILITY undercapitalized, understaffed, and
26       undertrained their respective employees, despite the known risk to elders and dependent adults
27       while at the same seeking to increase residency rates to increase revenue, the FACILITY'S
28       actions were malicious, oppressive, fraudulent, and/or reckless.

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     1           61.    In conceiving of, implementing, and carrying through with the profit scheme, the
  2 FACILITY willfully, knowingly,recklessly, and with conscious disregard for GARCIA's health,
  3       safety, and welfare, breached their duties to GARCIA and did so in a manner which was
  4       malicious, fraudulent, and oppressive.
  5             62.     DEFENDANTS each willfully, intentionally, and/or recklessly caused or permitted
  6      GARCIA to be injured and/or placed in a situation such that his health was in danger as set forth
  7 supra.
  8             63.     DEFENDANTS' actions, as alleged supra, created circumstances or conditions
 9       likely to cause great bodily harm, and DEFENDANTS willfully caused or permitted GARCIA
 10 to suffer, or inflicted upon him, unjustifiable physical pain, injuries, damages, suffering, and
 11      indignity.
 12             64.    As a direct, actual, legal, and proximate cause of the conduct of DEFENDANTS,
13       as alleged herein, GARCIA suffered unjustifiable and substantial physical pain, mental suffering,
14       and indignity, in an amount according to proof at trial.
15              65.    Because of the malicious, oppressive, fraudulent, and/or reckless nature of
16 DEFENDANTS'conduct, an award ofpunitive damages in an amount according to proof at trial
17       is therefore justified and appropriate.
18                                       SECOND CAUSE OF ACTION
19                                            WRONGFUL DEATH
20              [By PAUL GARCIA, GARY GARCIA,and RONALD GARCIA against all
21                                                 DEFENDANTS]
22             66.     Plaintiffs PAUL GARCIA,GARY GARCIA,and RONALD GARCIA (hereinafter
23       the "HEIRS")hereby incorporate the allegations set forth supra as though fully set forth herein.
24             67.     GARCIA died on July 3, 2020, as an ultimate result of the acts and omissions of
25       the DEFENDANTS,as set forth supra.
26             68.     The HEIRS are the surviving sons and rightful heirs of GARCIA and each brings
27 this claim for wrongful death in his individual capacity.
28             69.     The DEFENDANTS owed standard of care duties to protect GARCIA from the

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     1    abuse, and neglect alleged supra, which ultimately caused GARCIA's death. However, the
 2 DEFENDANTS breached those duties by failing to prevent GARCIA from contracting COVID-
 3        19, which caused his death.
 4               70.    The breaches ofDEFENDANTS' duties caused injury and death to GARCIA.
 5               71.    The DEFENDANTS' acts and omissions as alleged supra were the direct, actual,
 6        legal, and proximate causes of GARCIA's injuries and death.
 7              72.     GARCIA would not have suffered death but for DEFENDANTS' conduct and
 8       breaches of duty.
 9              73.     Prior to GARCIA's death, the HEIRS enjoyed the love, society, comfort, and
10       attention oftheir loving father.
11              74.     As a proximate result ofthe acts and omissions by all the DEFENDANTS alleged
12 supra,the HEIRS sustained the loss oflove, society, comfort, and attention oftheir loving father,
13       GARCIA,for which they seek general damages.
14              75.     As an additional result of the acts and omissions by all DEFENDANTS alleged
15       supra, GARCIA's family incurred funeral and burial expenses for the burial of GARCIA, for
16       which they seek special damages.
17                                          THIRD CAUSE OF ACTION
18                      INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
19                           [By RONALD GARCIA against all DEFENDANTS]
20              76.     PlaintiffRONALD GARCIA hereby incorporates the allegations set forth supra as
21       though fully set forth herein.
22              77.     As discussed supra, DEFENDANTS knew a FACILITY staff member had tested
23       positive for COVID-19. Further, DEFENDANTS knew GARCIA was exhibiting COVID-19
24       symptoms, including chills, fever, and loss of appetite. With this knowledge, DEFENDANTS
25       asked RONALD GARCIA to personally take GARCIA to an urgent care center or emergency
26       room. Out of concern for his father, RONALD GARCIA made the difficult choice to expose
27       himself to COVID-19 in order to get GARCIA the care he needed that DEFENDANTS would
28       not provide.

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     1            78.   DEFENDANTS' conduct alleged herein was extreme and outrageous and is
 2        beyond the bounds ofthat tolerated in a decent society. DEFENDANTS were aware that COVID-
 3        19 poses a serious risk of harm and death to individuals exposed to it, and that it is highly
 4        infectious. DEFENDANTS were aware that GARCIA had been exposed to COVID-19 and that
 5        he was exhibiting symptoms indicative of COVID-19. DEFENDANTS knew that they had
 6        accepted responsibilities for the health, safety and well-being of GARCIA, but they refused to
 7        provide the requisite care and instead requested that RONALD GARCIA expose himself to
 8        COVID-19 to seek medical assistance for his father.
 9                79.   Left with no other option, RONALD GARCIA was forced to put his own health
10        and safety in jeopardy to satisfy DEFENDANTS' duty to GARCIA.
11                80.   DEFENDANTS engaged in conduct alleged herein with reckless disregard as to
12        whether it would cause extreme emotional distress to RONALD GARCIA.
13                81.   Plaintiff RONALD GARCIA suffered severe emotional distress due to being
14       exposed to a COVID-19 infected individual.
15                82.   DEFENDANTS' conduct was a substantial factor in causing RONALD
16       GARCIA's severe emotional distress.
17       As a result ofDEFENDANTS'conduct, RONALD GARCIA incurred and will continue to incur
18       damages in an amount to be proven at trial.
19       \\
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                                       COMPLAINT FOR DAMAGES
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     1                                     PRAYER FOR RELIEF
 2       WHEREFORE,PLAINTIFFS pray for judgment and damages as follows:
 3             1.    For pre-death pain and suffering damages pursuant to Welfare and Institutions
 4                   Code section 15657;
 5             2.    For general damages according to proof against all DEFENDANTS;
 6             2.    For special damages according to proof against all DEFENDANTS;
 7             3.    For attorney's fees against all DEFENDANTS;
 8             4.    For punitive and exemplary damages against all DEFENDANTS;
 9             5.    For costs ofsuit against all DEFENDANTS;
10             6.    For such other and further relief as the Court deems just and proper.
11
12                                                     Respectfully submitted,
13       Dated: October 26, 2020                       LANZONE MORGAN,LLP
14
15
16                                              By:
                                                       Ayman R. Mourad
17
                                                       Attorney for Plaintiffs
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                 Case 2:20-cv-10803 Document 1-1 Filed 11/27/20 Page 22 of 34 Page ID #:39
     ATTORNEY OR PARTY WITHOUT ATTORNEY(Nome. Stale Bar number,and or/dress):
  — Ayman R. Mourad,Esq.,SBN 30416l
   Lanzone Morgan,LLP
   5001 Airport Plaza Drive, Suite 210
   Long Beach, CA 90815
            TELEPHONE NO.:    (562)596-1700          FAX NO.: (562) 596-0011
     ATTORNEY FOR(Name):      rlaintiffs, GILBERT GARCIA,et al.
  SUPERIOR COURT OF CALIFORNIA,COUNTY OF OrdligC
         STREET ADDRESS:   700 Civic Center Drive West
         MAILING ADDRESS:  Same as above
        CITY AND ZIP CODE: Santa Ana, California 92701

            BRANCH NAME: Central Justice Courthouse
     CASE NAME:
     Garcia v. Welltower OPCO Group,LLC,et al.
                                                                                                       CASE NUMBER:
      CIVIL CASE COVER SHEET                                Complex Case Designation
  Ti Unlimited                      n
                                  Limited
                                                       C   I  Counter               a
                                                                                   Joinder
                                                                                                           30-2020-01167237-CU-PO-CJC
       (Amount                    (Amount                                                               JUDGE:
        demanded                  demanded is          Filed with first appearance by defendant                Judge Theodore Howard
        exceeds $25,000) $25,000 or less)                 (Cal. Rules of Court, rule 3.402)              DEPT:

                                     Items 1-6 below must be completed(see instnictions on page 2).
  1. Check one box below for the case type that best describes this case:
     Auto Tort                                       Contract                                  Provisionally Complex Civil Litigation
            Auto(22)                                 1   1 Breach of contract/warranty(06) (Cal. Rules of Court, rules 3.400-3.403)
     CD Uninsured motorist(46)                     =I Rule 3.740 collections(09)              1=1 Antitrust/Trade regulation (03)
     Other PUPDIWD(Personal Injury/Property        = Other collections(09)                   I=1 Construction defect(10)
     Damage/Wrongful Death)Tort                    = Insurance coverage(18)                  1=1 Mass tort(40)
    El Asbestos(04)                                L   i Other contract(37)                  El Securities litigation(28)
           Product liability(24)                    Real Property                            I=1 Environmental/Toxic tort(30)
           Medical malpractice(45)                 -1 7 Eminent domain/Inverse                        Insurance coverage claims arising from the
     ED Other Pl/PDNVD (23)                                condemnation(14)                          above listed provisionally complex case
                                                   =
                                                   I       Wrongful eviction (33)                    types(41)
     Non-PUPDIWD(Other)Tort
    1E1 Business tort/unfair business practice(07) El Other real property(26)                Enforcement of Judgment
    El Civil rights(08)                             Unlawful Detainer                       ii=1 Enforcement of judgment(20)
           Defamation (13)                         I=1 Commercial(31)                        Miscellaneous Civil Complaint
           Fraud (16)                              El Residential(32)                       I=1 RICO(27)
           Intellectual property(19)                       Drugs(38)                       =
                                                                                           1         Other complaint(not specified above)(42)
    E= Professional negligence(25)                 Judicial Review                          Miscellaneous Civil Petition
          Other non-PI/PD/WD tort(35)              1
                                                   1       Asset forfeiture(05)            1=I Partnership and corporate governance(21)
     Employment                                            1=1    Petition re: arbitration award (11)
                                                                                                        n Other petition (not specified above)(43)
         Wrongful termination (36)              El Writ of mandate(02)
   FT    Other employment  (15)                 LI Otherjudicial review(39)
2. This case El is =1 is not complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
   factors requiring exceptional judicial management:
   a. I=1 Large number of separately represented parties       d.El Large number of witnesses
   b.I=1 Extensive motion practice raising difficult or novel e El Coordination with related actions pending in one or more courts
            issues that will be time-consuming to resolve              in other counties, states, or countries, or in a federal court
   c. LII Substantial amount of documentary evidence          f.       Substantial postjudgment judicial supervision
3.   Remedies sought(check all that apply): a.T1 monetary b.El nonmonetary; declaratory or injunctive relief  c. punitive
4.   Number of causes of action (specify): Elder Abuse & Neg.; WD;Intentional Infliction of Emotional Distress
5.   This case =is          El is not a class action suit.
6.   If there are any known related cases, tile and serve a notice of related case.(You may use form CM-015.)
Date: October 26, 2020
Ayman R. Mourad,Esq.
                                   (TYPE OR PRINT NAME)
                                                                                     0              (SIGNATURE OF PARTY OR ATTORNEY FOR PARTY)
                                                                      NOTICE
 • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
   under the Probate Code, Family Code,or Welfare and Institutions Code).(Cal. Rules of Court, rule 3.220.) Failure to file may result
   in sanctions.
 • File this cover sheet in addition to any cover sheet required by local court rule.
 • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
  other parties to the action or proceeding.
 • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                                Pape 1 of2
Form Adopted for Mandatory Use                                                                                   Cal. Rules of Court, rules 2.30,3.220,3.400-3.403, 3.740;
  Judicial Councll of California                          CIVIL CASE COVER SHEET                                         Cal. Standards of Judicial Administration, std. 3.10
  CM-010[Rev. July 1,20071                                                                                                                             wv.w.courtinto.cagov
                Case 2:20-cv-10803 Document 1-1 Filed 11/27/20 Page 23 of 34 Page ID #:40
                                                                                                                                        CM-010
                                    INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
  To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
  complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
  statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
  one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
  check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
  To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
  sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
  its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
 To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
 owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
 which property, services, or money was acquired on credit. A collections case does not include an action seeking the following:(1) tort
 damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
 attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
 time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
 case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
 To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
 case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
 completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
 complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
 plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
 the case is complex.
                                                             CASE TYPES AND EXAMPLES
 Auto Tort                                        Contract                                           Provisionally Complex Civil Litigation (Cal.
      Auto (22)—Personal Injury/Property               Breach of Contract/VVarranty (06)             Rules of Court Rules 3.400-3.403)
           Damage/Wrongful Death                            Breach of Rental/Lease                         Antitrust/Trade Regulation (03)
      Uninsured Motorist(46)(if the                             Contract (not unlawful detainer            Construction Defect (10)
           case involves an uninsured                               or wrongful eviction)                  Claims Involving Mass Tort(40)
           motorist claim subject to                        ContractNVarranty Breach—Seller                Securities Litigation (28)
           arbitration, check this item                         Plaintiff(not fraud or negligence)         Environmental/Toxic Tort(30)
          instead of Auto)                                  Negligent Breach of Contract/                  Insurance Coverage Claims
 Other PI/PD/WD (Personal Injury/                               Warranty                                       (arising from provisionally complex
 Property Damage/Wrongful Death)                           Other Breach of ContractNVarranty                    case type listed above)(41)
 Tort                                                 Collections (e.g., money owed, open              Enforcement of Judgment
     Asbestos(04)                                          book accounts)(09)                              Enforcement of Judgment(20)
          Asbestos Property Damage                         Collection Case—Seller Plaintiff                     Abstract of Judgment(Out of
          Asbestos Personal Injury/                        Other Promissory Note/Collections                         County)
                Wrongful Death                                  Case                                           Confession of Judgment(non-
     Product Liability (not asbestos or               Insurance Coverage (not provisionally                          domestic relations)
          toxic/environmental)(24)                         complex)(18)                                        Sister State Judgment
     Medical Malpractice (45)                              Auto Subrogation                                    Administrative Agency Award
          Medical Malpractice—                             Other Coverage                                         (not unpaid taxes)
                Physicians & Surgeons                 Other Contract(37)                                       Petition/Certification of Entry of
         Other Professional Health Care                    Contractual Fraud                                       Judgment on Unpaid Taxes
                Malpractice                                Other Contract Dispute                              Other Enforcement of Judgment
                                                 Real Property                                                       Case
     Other Pl/PD/WD (23)
         Premises Liability (e.g., slip               Eminent Domain/Inverse                          Miscellaneous Civil Complaint
               and fall)                                   Condemnation (14)                              RICO(27)
         Intentional Bodily lnjury/PDNVD              Wrongful Eviction (33)                              Other Complaint (not specified
               (e.g., assault, vandalism)                                                                      above)(42)
                                                     Other Real Property (e.g., quiet title)(26)               Declaratory Relief Only
         Intentional Infliction of                        Writ of Possession of Real Property                  Injunctive Relief Only (non-
                Emotional Distress                        Mortgage Foreclosure
         Negligent Infliction of                                                                                     harassment)
                                                          Quiet Title                                          Mechanics Lien
               Emotional Distress                         Other Real Property (not eminent
         Other PI/PDNVD                                                                                        Other Commercial Complaint
                                                          domain, landlord/tenant, or
                                                                                                                    Case (non-tort/non-complex)
Non-PI/PD/WD (Other) Tort                                 foreclosure)
                                                                                                              Other Civil Complaint
    Business Tort/Unfair Business               Unlawful Detainer                                                  (non-tort/non-complex)
        Practice(07)                                 Commercial(31)                                   Miscellaneous Civil Petition
    Civil Rights (e.g., discrimination,              Residential (32)                                     Partnership and Corporate
        false arrest)(not civil                      Drugs(38)(if the case involves illegal                   Governance (21)
         harassment)(08)                                  drugs, check this item; otherwise,             Other Petition (not specified
    Defamation (e.g., slander, libel)                     report as Commercial or Residential)                above)(43)
         (13)                                   Judicial Review                                               Civil Harassment
    Fraud (16)                                      Asset Forfeiture (05)                                     Workplace Violence
    Intellectual Property (19)                       Petition Re: Arbitration Award (11)                      Elder/Dependent Adult
    Professional Negligence(25)                      Writ of Mandate (02)                                           Abuse
        Legal Malpractice                                 Writ—Administrative Mandamus                        Election Contest
        Other Professional Malpractice                   Writ—Mandamus on Limited Court                       Petition for Name Change
            (not medical or legal)                            Case Matter                                     Petition for Relief From Late
     Other Non-PI/PD/WD Tort(35)                         Writ—Other Limited Court Case                              Claim
Employment                                                    Review                                          Other Civil Petition
    Wrongful Termination (36)                       Other Judicial Review (39)
    Other Employment(15)                                 Review of Health Officer Order
                                                         Notice of Appeal—Labor
                                                              Commissioner Appeals
CM-010[Rev. July 1, 2007)                                                                                                               Page 2 of 2
                                                    CIVIL CASE COVER SHEET
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                                    # 5 - DAVID     Filed 11/27/20
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                                                                      the Court of Dominique
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                                                                                             ID #:41
                                                                                                 Deputy Clerk.




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     5
       Attorneys for Plaintiffs, GILBERT GARCIA, by and through his Successor in Interest,
    6 Paul
            Garcia, et al.
    7
                         SUPERIOR COURT OF THE STATE OF CALIFORNIA
    8            FOR THE COUNTY OF ORANGE — CENTRAL JUSTICE CENTER
    9                                                      30-2020-01167237-CU-PO-CJC
       GILBERT GARCIA,by and through his        Case No.:
   10 Successor in Interest, Paul Garcia; PAUL  Complaint Filed:        Assigned for all Purposes:
                                                Assigned to Department: judge Theodore Howard
       GARCIA,individually; RONALD              Hon.
   11
       GARCIA,individually; GARY GARCIA,
   12 individually,
                                                DECLARATION OF PAUL GARCIA
   13                                           PURSUANT      TO CODE OF CIVIL
                                  Plaintiffs,
  14                                            PROCEDUR      E §377.32 AND WELFARE &
                         VS.
                                                INSTITUTIONS CODE §15657.3
  15
       WELLTOWER OPCO GROUP LLC dba
  16 SUNRISE VILLA BRADFORD;
  17 SUNRISE SENIOR LIVING
       MANAGEMENT,INC.; and DOES 1
  18 through 100;
  19                              Defendants.
  20
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            DECLARATION OF PAUL GARCIA PURSUANT TO CODE OF CIVIL
           PROCEDURE §377.32 AND WELFARE & INSTITUTIONS CODE §15657.3
           Case 2:20-cv-10803 Document 1-1 Filed 11/27/20 Page 25 of 34 Page ID #:42




     1
                                     DECLARATION OF PAUL GARCIA
 2
                 I,Paul Garcia, declare:
 3
                 1. I am the son and heir of Gilbert Garcia, who died July 3, 2020. A tru and correct
 4
         copy of Gilbert Garcia's Certificate ofDeath is attached to this declaration as E • bit A.
 5
                2. No proceeding is now pending in California for the administration of i e decedent
 6
         Gilbert Garcia's estate.
 7
                3. I am a Successor in Interest (as defined in § 377.11 of the California Code of Civil
 8
         Procedure and § 15657.3 ofthe Welfare and Institutions Code)and succeed to Gilbert Garcia's
 9
         interests in this action.
10
                4. No other person has a superior right to commence the action or proceeling or to be
11
         substituted for the decedent in the pending action or proceeding.
12
13              I declare under penalty of perjury under the laws of the State of California that the
14 foregoing is true and correct. Executed this Vfilaay ofJuly, 2020,in Villa Park, California.
15                                                                           •
                                                                             •• ••




16
                                                         Pa Garcia
17                                                       Declarant
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            DECLARATION OF PAUL GARCIA PURSUANT TO CODE OF CIVIL
           PROCEDURE §377.32 AND WELFARE & INSTITUTIONS CODE §15617.3
Case 2:20-cv-10803 Document 1-1 Filed 11/27/20 Page 26 of 34 Page ID #:43




                         EXHIBIT "A"
Case 2:20-cv-10803 Document 1-1 FiledI11/27/20
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                                                                           the Court of Dominique
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                                                                                                        Deputy Clerk.




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    6
      Attorneys for Plaintiff
    7
    8                       SUPERIOR COURT OF THE STATE OF CALIFORNIA
    9                FOR THE COUNTY OF ORANGE — CENTRAL JUSTICE CENTER
   10
   11      GILBERT GARCIA, by and through his                Case No.: 30-2020-01167237-CU-PO-CJC
           Successor in Interest, Paul Garcia; PAUL          Complaint Filed:
  12                                                         Assigned to Department:
           GARCIA, individually; RONALD
  13       GARCIA,individually; GARY GARCIA,                 Hon.
           individually,                                     Trial Date:
  14
  15                                  Plaintiffs,            NOTICE OF POSTING JURY FEES

  16                         VS.


  17       WELLTOWER OPCO GROUP LLC dba
  18       SUNRISE VILLA BRADFORD;
           SUNRISE SENIOR LIVING
  19       MANAGEMENT,INC.; and DOES 1
  20       through 100;

  21                                  Defendants.

  22       TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

  23       ///

  24 ///
  25 ///
 26 ///
 27 ///
 28        ///
          Case 2:20-cv-10803 Document 1-1 Filed 11/27/20 Page 29 of 34 Page ID #:46




     I         PLEASE TAKE NOTICE that GILBERT GARCIA, by and through his Successor in
 2 Interest, Paul Garcia; PAUL GARCIA,individually, RONALD GARCIA,individually and
 3       GARY GARCIA,individually hereby post their portion ofjury fees in accordance with Code of
 4       Civil Procedure § 631(b).
 5
 6                                                     Respectfully submitted,
         Dated: October 26, 2020                       LANZONE MORGAN,LLP
 7
 8
 9
                                                        yman R. Mourad, Esq.
10
                                                       Attorney for Plaintiffs
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   Case 2:20-cv-10803 Document 1-1 Filed 11/27/20 Page 30 of 34 Page ID #:47



                               SUPERIOR COURT OF CALIFORNIA
                                    COUNTY OF ORANGE

                       ALTERNATIVE DISPUTE RESOLUTION(ADR)
                              INFORMATION PACKAGE


 NOTICE TO PLAINTIFF(S)AND/OR CROSS-COMPLAINANT(S):

 Rule 3.221(c) ofthe California Rules of Court requires you to serve a copy ofthe
 ADR Information Package along with the complaint and/or cross-complaint.

                               California Rules of Court — Rule 3.221
                       Information about Alternative Dispute Resolution(ADR)

(a) Each court shall make available to the plaintiff, at the time offiling of the complaint,
 an ADR Information Package that includes, at a minimum, all ofthe following:

    (1) General information about the potential advantages and disadvantages of ADR
    and descriptions of the principal ADR processes.

    (2) Information about the ADR programs available in that court, including citations to
     any applicable local court rules and directions for contacting any court staff
     responsible for providing parties with assistance regarding ADR.

    (3) Information about the availability of local dispute resolution programs funded
     under the Dispute Resolutions Program Act (DRPA), in counties that are
     participating in the DRPA. This information may take the form of a list of the
     applicable programs or directions for contacting the county's DRPA coordinator.

    (4) An ADR stipulation form that parties may use to stipulate to the use of an ADR
     process.

(b) A court may make the ADR Information Package available on its website as long as
 paper copies are also made available in the clerk's office.

(c) The plaintiff must serve a copy of the ADR Information Package on each defendant
 along with the complaint. Cross-complainants must serve a copy of the ADR
 Information Package on any new parties to the action along with the cross-complaint.




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                                SUPERIOR COURT OF CALIFORNIA
                                     COUNTY OF ORANGE

                                             ADR Information

 Introduction.

 Most civil disputes are resolved without filing a lawsuit, and most civil lawsuits are resolved without a trial.
 The courts and others offer a variety of Alternative Dispute Resolution (ADR) processes to help people
 resolve disputes without a trial. ADR is usually less formal, less expensive, and less time-consuming than
 a trial. ADR can also give people more opportunity to determine when and how their dispute will be
 resolved.

 BENEFITS OF ADR.

 Using ADR may have a variety of benefits, depending on the type of ADR process used and the
 circumstances of the particular case. Some potential benefits of ADR are summarized below.

 Save Time. A dispute often can be settled or decided much sooner with ADR; often in a matter of
 months, even weeks, while bringing a lawsuit to trial can take a year or more.

 Save Money. When cases are resolved earlier through ADR, the parties may save some of the money
 they would have spent on attorney fees, court costs, experts' fees, and other litigation expenses.

Increase Control Over the Process and the Outcome. In ADR, parties typically play a greater role in
shaping both the process and its outcome. In most ADR processes, parties have more opportunity to tell
their side of the story than they do at trial. Some ADR processes, such as mediation, allow the parties to
fashion creative resolutions that are not available in a trial. Other ADR processes, such as arbitration,
allow the parties to choose an expert in a particular field to decide the dispute.

Preserve Relationships. ADR can be a less adversarial and hostile way to resolve a dispute. For
example, an experienced mediator can help the parties effectively communicate their needs and point of
view to the other side. This can be an important advantage where the parties have a relationship to
preserve.

Increase Satisfaction. In a trial, there is typically a winner and a loser. The loser is not likely to be
happy, and even the winner may not be completely satisfied with the outcome. ADR can help the parties
find win-win solutions and achieve their real goals. This, along with all of ADR's other potential
advantages, may increase the parties' overall satisfaction with both the dispute resolution process and the
outcome.

Improve Attorney-Client Relationships. Attorneys may also benefit from ADR by being seen as problem-
solvers rather than combatants. Quick, cost-effective, and satisfying resolutions are likely to produce
happier clients and thus generate repeat business from clients and referrals of their friends and associates.

DISADVANTAGES OF ADR.

ADR may not be suitable for every dispute.

Loss of protections. If ADR is binding, the parties normally give up most court protections, including a
decision by a judge or jury under formal rules of evidence and procedure, and review for legal error by an
appellate court.


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  Less discovery. There generally is less opportunity to find out about the other side's case with ADR
  than with litigation. ADR may not be effective if it takes place before the parties have sufficient
  information to resolve the dispute.

 Additional costs. The neutral may charge a fee for his or her services. If a dispute is not resolved
 through ADR,the parties may have to put time and money into both ADR and a lawsuit.

 Effect of delays if the dispute is not resolved. Lawsuits must be brought within specified periods of
 time, known as statues of limitation. Parties must be careful not to let a statute of limitations run out while
 a dispute is in an ADR process.

 TYPES OF ADR IN CIVIL CASES.

 The most commonly used ADR processes are arbitration, mediation, neutral evaluation and settlement
 conferences.

 Arbitration. In arbitration, a neutral person called an "arbitrator" hears arguments and evidence from
 each side and then decides the outcome of the dispute. Arbitration is less formal than a trial, and the rules
 of evidence are often relaxed. Arbitration may be either "binding" or "nonbinding." Binding arbitration
 means that the parties waive their right to a trial and agree to accept the arbitrator's decision as final.
 Generally, there is no right to appeal an arbitrator's decision. Nonbinding arbitration means that the
 parties are free to request a trial if they do not accept the arbitrator's decision.

     Cases for Which Arbitration May Be Appropriate. Arbitration is best for cases where the parties
     want another person to decide the outcome of their dispute for them but would like to avoid the
     formality, time, and expense of a trial. It may also be appropriate for complex matters where the
     parties want a decision-maker who has training or experience in the subject matter of the dispute.

     Cases for Which Arbitration May Not Be Appropriate. If parties want to retain control over how
     their dispute is resolved, arbitration, particularly binding arbitration, is not appropriate. In binding
     arbitration, the parties generally cannot appeal the arbitrator's award, even if it is not supported by the
     evidence or the law. Even in nonbinding arbitration, if a party requests a trial and does not receive a
     more favorable result at trial than in arbitration, there may be penalties.

Mediation. In mediation, an impartial person called a "mediator" helps the parties try to reach a .mutually
acceptable resolution of the dispute. The mediator does not decide the dispute but helps the parties
communicate so they can try to settle the dispute themselves. Mediation leaves control of the outcome
with the parties.

    Cases for Which Mediation May Be Appropriate. Mediation may be particularly useful when
    parties have a relationship they want to preserve. So when family members, neighbors, or business
    partners have a dispute, mediation may be the ADR process to use. Mediation is also effective when
    emotions are getting in the way of resolution. An effective mediator can hear the parties out and help
    them communicate with each other in an effective and nondestructive manner.

    Cases for Which Mediation May Not Be Appropriate. Mediation may not be effective if one of the
    parties is unwilling to cooperate or compromise. Mediation also may not be effective if one of the
    parties has a significant advantage in power over the other. Therefore, it may not be a good choice if
    the parties have a history of abuse or victimization.

Neutral Evaluation. In neutral evaluation, each party gets a chance to present the case to a neutral
person called an "evaluator." The evaluator then gives an opinion on the strengths and weaknesses of
each party's evidence and arguments and about how the dispute could be resolved. The evaluator is


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   Case 2:20-cv-10803 Document 1-1 Filed 11/27/20 Page 33 of 34 Page ID #:50



  often an expert in the subject matter of the dispute. Although the evaluator's opinion is not binding, the
  parties typically use it as a basis for trying to negotiate a resolution of the dispute.

      Cases for Which Neutral Evaluation May Be Appropriate. Neutral evaluation may be most
      appropriate in cases in which there are technical issues that require special expertise to resolve or
      the only significant issue in the case is the amount of damages.

      Cases for Which Neutral Evaluation May Not Be Appropriate. Neutral evaluation may not be
      appropriate when there are significant personal or emotional barriers to resolving the dispute.

 Settlement Conferences. Settlement conferences may be either mandatory or voluntary. In both types
 of settlement conferences, the parties and their attorneys meet with a judge or a neutral person called a
 "settlement officer" to discuss possible settlement of their dispute. The judge or settlement officer does
 not make a decision in the case but assists the parties in evaluating the strengths and weaknesses of the
 case and in negotiating a settlement. Settlement conferences are appropriate in any case where
 settlement is an option. Mandatory settlement conferences are often held close to the date a case is set
 for trial.

 ADDITIONAL INFORMATION.

 In addition to mediation, arbitration, neutral evaluation, and settlement conferences, there are other types
 of ADR, including conciliation, fact finding, mini-trials, and summary jury trials. Sometimes parties will try
 a combination of ADR types. The important thing is to try to find the type or types of ADR that are most
 likely to resolve your dispute.

 To locate a dispute resolution program or neutral in your community:
    • Contact the California Department ofConsumer Affairs, Consumer Information Center, toll free, at
         1-800-852-5210
    • Contact the Orange County Bar Association at(949)440-6700
    • Look in the telephone directories under"Arbitrators"or"Mediators"

 Low cost mediation services are provided under the Orange County Dispute Resolution Program Act
(DRPA). For information regarding DRPA,contact:
    •      OC Human Relations (714)480-6575, mediator@ochumanrelations.org
    •      Waymakers (949)250-4058

For information on the Superior Court of California, County of Orange court ordered arbitration program,
refer to Local Rule 360.

 The Orange County Superior Court offers programs for Civil Mediation and Early Neutral Evaluation
(ENE). For the Civil Mediation program, mediators on the Court's panel have agreed to accept a fee of
$300 for up to the first two hours of a mediation session. For the ENE program, members of the Court's
 panel have agreed to accept a fee of $300 for up to three hours of an ENE session. Additional
 information on the Orange County Superior Court Civil Mediation and Early Neutral Evaluation (ENE)
 programs is available on the Court's website at www.occourts.org.




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        Case 2:20-cv-10803 Document 1-1 Filed 11/27/20 Page 34 of 34 Page ID #:51


 ATTORNEY OR PARTY WITHOUT ATTORNEY:              STATE BAR NO.:                               FOR COURT USE ONLY
 NAME:
 FIRM NAME:
 STREET ADDRESS:                                                                           For your protection
 CITY:                                           STATE:            ZIP CODE:               and privacy, please
 TELEPHONE NO.:                                  FAX NO.:                                  press the Clear This
 E-MAIL ADDRESS:
 ATTORNEY FOR (name):                                                                      Form button after you
                                                                                           are done printing this
SUPERIOR COURT OF CALIFORNIA,COUNTY OF ORANGE                                              form.
 JUSTICE CENTER:
o Central - 700 Civic Center Dr. West, Santa Ana, CA 92701-4045
O Civil Complex Center - 751 W. Santa Ana Blvd., Santa Ana,CA 92701-4512
O Harbor — Newport Beach Facility —4601 Jamboree Rd., Newport Beach, CA 92660-2595
O North — 1275 N. Berkeley Ave., P.O. Box 5000, Fullerton, CA 92838-0500
ID West— 8141 13th Street, Westminster, CA 92683-4593

PLAINTIFF/PETITIONER:

DEFENDANT/RESPONDENT:
                                                                                         CASE NUMBER:
ALTERNATIVE DISPUTE RESOLUTION(ADR)STIPULATION


 Plaintiff(s)/Petitioner(s),



 and defendant(s)/respondent(s),



 agree to the following dispute resolution process:

fl Mediation
n Arbitration (must specify code)
                        Under section 1141.11 of the Code of Civil Procedure
                     ED Under section 1280 of the Code of Civil Procedure

    Neutral Case Evaluation

The ADR process must be completed no later than 90 days after the date of this Stipulation or the date the case
was referred, whichever is sooner.

   I have an Order on Court Fee Waiver(FW-003)on file, and the selected ADR Neutral(s) are eligible to
provide pro bono services.

n The ADR Neutral Selection and Party List is attached to this Stipulation.
We understand that there may be a charge for services provided by neutrals. We understand that participating in
an ADR process does not extend the time periods specified in California Rules of Court, rule 3.720 et seq.


Date:
                                  (SIGNATURE OF PLAINTIFF OR ATTORNEY)           (SIGNATURE OF PLAINTIFF OR ATTORNEY)



Date:
                                 (SIGNATURE OF DEFENDANT OR ATTORNEY)            (SIGNATURE OF DEFENDANT OR ATTORNEY)


                               ALTERNATIVE DISPUTE RESOLUTION(ADR)STIPULATION
Approved for Optional Use                                                                  California Rules of Court, rule 3.221
L1270(Rev. March 2019)
